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                    No. 23-12155
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         UNITED STATES COURT OF APPEALS
            FOR THE ELEVENTH CIRCUIT
         ──────────────────────────────

                 AUGUST DEKKER, ET AL.,
                  PLAINTIFFS-APPELLANTS,
                            V.
      SECRETARY, FLORIDA AGENCY FOR HEALTH CARE
                 ADMINISTRATION ET AL.,
                  DEFENDANTS-APPELLEES.

            ──────────────────────────────
          On Appeal from the United States District Court
               for the Northern District of Florida,

                  Case No. 4:22-cv-325 (Hinkle, J.)
    ════════════════════════════════════════
         BRIEF OF AMICI CURIAE WALT HEYER,
  TED HALLEY, AND CLIFTON FRANCIS BURLEIGH, JR.,
      IN SUPPORT OF DEFENDANTS-APPELLANTS
                   AND REVERSAL
    ════════════════════════════════════════
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     October 13, 2023
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Health Care Administration et al.

           CERTIFICATE OF INTERESTED PERSONS

     Pursuant to Eleventh Circuit Rule 25.1, undersigned counsel

certifies that the following listed persons and parties not already listed

in the CIP contained in the Defendants-Appellants’ initial brief and in

any other brief filed have an interest in the outcome of this case:

           Walt Heyer, amicus curiae;

           Ted Halley, amicus curiae;

           Clifton Francis Burliegh, Jr., amicus curiae; and

           Eric Nieuwenhuis Kniffin, counsel for amici curiae.

Dated: October 13, 2023

                                   s/ Eric N. Kniffin
                                   Eric N. Kniffin
                                   Counsel for Amici Curiae




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         STATEMENT OF INTEREST OF AMICI CURIAE1

     Amici Walt Heyer, Ted Halley, and Billy Burleigh are biological

males that are like the Plaintiffs-Appellees in many ways. Each suffered

from an early age deep confusion and distress regarding his gender

identity. Each was convinced by licensed healthcare professionals that

“gender-transition” interventions would resolve his dysphoria and permit

him to live a healthy, well-adjusted life. At some point in each of their

lives, Walt, Ted, and Billy would likely have been right alongside

Plaintiffs-Appellees, fighting anything that might get in the way of his

pursuit of hormonal therapies and radical surgeries he thought would

bring him the happiness and peace he had long sought.

     Where Amici differ from Plaintiffs-Appellees is that they have gone

through the gender transition process and come out the other side. They

had hormone therapy. They endured cosmetic surgeries to make them

look more like women. They let doctors amputate their male reproductive

organs. They transitioned socially and for years presented themselves as



1 All parties received timely notice to the filing of this brief and have

given their consent. No party’s counsel authored any part of this brief
and no person other than amici made a monetary contribution to fund
its preparation or submission.

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though they were females. And they found that transitioning did not

make them happy. It did not solve their confusion and depression; in fact,

transitioning made it worse.

     Amici are interested in this case because they believe that the

challenged Florida rule is good policy. They believe the rule looks out for

the best interests of vulnerable people suffering from gender dysphoria.

Amici hope that through sharing their painful journeys the Court will

better understand the issues at stake in this case. Amici hope the

challenged Florida rule is upheld. It is too late for them, but Amici hope

that this policy will help others confused about their gender identity

pause and reconsider before they make the same irreversible and life-

altering harmful mistakes that they did.




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       INTRODUCTION AND SUMMARY OF ARGUMENT

     Plaintiffs-Appellees claim the verdict is in. They claim that the

medical establishment knows so much about gender dysphoria and how

to treat it that anyone who stands in the way—as the Florida Agency for

Health Care Administration and its Secretary did in adopting Rule 59G-

1.050(7) (the “Florida rule”)—must have bad (indeed, they allege

unconstitutional and illegal) motives.

     In their briefing below, Plaintiffs-Appellees make strong claims

about this alleged consensus. They assert that one’s “[g]ender identity is

innate, immutable, . . . and cannot be altered.” Docket Entry (“DE”) 11 at

5. They claim the best way “to eliminate the distress of gender dysphoria”

is by taking steps to “align[] a person’s body and presentation with their

gender identity.” Id. at 7. They claim that “gender-affirming care,” which

includes puberty blockers, cross-sex hormones, and “sex reassignment

surgeries,” is “medically necessary.” Id. at 9. They say that treating

gender dysphoria with “gender-affirming care” is the “opposite” of

“experimental.” Id. at 26. They claim that failure to treat gender

dysphoria this way leads to “serious” consequences, “including

irreversible and harmful physical changes and irreparable mental harm,”



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leading to “higher levels of stigmatization, discrimination, and

victimization.” Id.

     Plaintiffs-Appellees claim that because these “facts” are so well

established, the Florida rule “cannot even withstand deferential ‘rational

basis’ review.” Id. at 28. They ask the Court to conclude that the Florida

rule reflects a “bare desire to harm a politically unpopular group,” namely

people who identify as transgender. Id. at 20. Plaintiffs-Appellees say the

Court should conclude that Defendants-Appellants passed the rule “with

the intent of discriminating against transgender beneficiaries.” Id. at 35.

The Florida rule, they claim, “sends to transgender people a

discriminatory message: That they are not worthy of protection and their

health care needs may be disregarded.” Id. at 34.

     Amici Walt Heyer, Ted Halley, and Billy Burleigh recognize that

the Defendants-Appellants and other amicus have already provided the

Court with ample legal and medical evidence to grant summary

judgment in the Defendants-Appellants’ favor. But amici submit this

brief to offer their perspective as individuals who formerly identified as

transgender and underwent medicalized transition. Their stories are

heartbreaking, inspiring, and hopeful. Amici are testaments to strength



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of the human spirit, the ability to grow and forgive, and the ability to

thrive despite deep scars—both emotional and, due to the “treatment”

they received, physical.

     This brief highlights Amici’s hard-fought wisdom, shows how their

perspective contrasts with that of the Plaintiffs-Appellees, and explains

why Amici’s testimony is relevant to the key questions before the Court

on Defendants-Appellants’ motion for summary judgment.

     Part I of this brief summarizes Amici’s personal stories. Walt, Ted,

and Billy learned the hard way that “gender affirming care” is not the

solution for everyone diagnosed with gender dysphoria. Cross-sex

hormones and invasive surgeries did not make them happier; they only

made things worse. The medical interventions they were talked into left

them emotionally and physically scarred and delayed them from seeking

out the psychological help they really needed.

     Part II illustrates how Amici’s personal stories undercut Plaintiffs-

Appellees’ central claim that the Florida rule discriminates against and

was motivated by animus toward transgender people. First, Amici have

more life experience than Plaintiffs-Appellees. Amici recall that they too

were once convinced that gender transition was their path toward



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healing and happiness. But eventually Walt, Ted, and Billy each came to

see his gender transition as a dead end. Amici recognize that safeguards

like the Florida rule could have saved them a lot of pain and heartache.

That is why Amici are hopeful that the rule will help those who

experience gender dysphoria or identify as transgender pause and

explore other options before fully committing to a gender transition.

     Second, Amici’s stories show that short-term happiness after a

gender transition does not always last. Their perspective can help the

Court understand why the Plaintiffs-Appellees’ testimony and other

studies that measure short-term happiness after gender transition

interventions are not the best measure of whether the Florida rule works

against transgender-identifying persons’ best interests.

     Third, though Plaintiffs-Appellees have stressed that an inability

to pay for “medically necessary” hormonal and surgical procedures would

lead to “irreversible and harmful physical changes and irreparable

mental harm,” DE 11 at 9, Amici offer a potent reminder of the

irreversible effects of gender transition interventions.




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                              ARGUMENT

I.   Amici learned the hard way that “gender-affirming care”
     was not the best treatment for their dysphoria.

     Amici are sympathetic with the Plaintiffs-Appellees’ personal

testimonies. Their declarations sound much like where each of the Amici

were at one point: they were confused, depressed, and desperate, and

were excited when doctors they trusted told them that a gender transition

was the silver bullet solution to their dysphoria.

     But after years of fully committing to their gender transitions,

Walt, Ted, and Billy came to see that gender transition interventions

were not the answer to their problems. Thankfully, they found others who

gave them different advice. Walt, Ted, and Billy worked through their

childhood trauma and their gender dysphoria resolved, and today they

are today happier and healthier than they ever were when they were

presenting as women.

     All the same, Amici regret that healthcare professionals were able

to push them down the wrong and harmful path so easily. They are

enthusiastically in favor of the Florida rule. Unlike Plaintiffs-Appellees,

they believe that the cautious approach Florida has chosen is a better




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way to care for the best interest of people suffering from gender

dysphoria. 2

     A.    Walt Heyer

     Walt Heyer wanted to be a girl from the age of four. He participated

in lots of typical boy activities growing up, but he was cross-dressing in

secret. As an adult he fell in love and got engaged. Walt worked up the

courage to share his secret with his fiancée. Fortunately, Walt’s fiancée

was undaunted; they got married in 1962. By 1968 Walt and his wife had

two children and his career was going well; but he was unhappy. The

desire to be a girl never went away, not for a single day.

     When Walt was in his thirties, he started frequenting cross-

dressing bars in San Francisco, where he learned about a doctor that gave

people like him cross-sex hormones. Walt connected with a leading expert

on gender identity disorder, who gave him a positive diagnosis and

encouraged him to pursue cross-sex hormones. After two years on cross-

sex hormones, Walt’s doctor convinced him to let a surgeon remove his




2 The testimony that follows is based on declarations from each of the

amici that are in undersigned counsel’s possession and available upon
request.

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testicles and invert his penis into a pouch. Walt changed his legal name

to “Laura” and lived as a woman for eight years.

     Walt was happy with the gender transition at first, but as the years

passed, his dysphoria reemerged. He was more confused than ever,

depressed, and suicidal. He sought help from healthcare professionals,

but though professionals had pushed him into cross-sex hormones and

radical surgery, he was now advised that he needed to “give it time”; he

was told that “adapting to being ‘Laura’” would take more time, even

years.

     Fortunately, another psychiatrist Walt met through work pulled

him aside and asked Walt some questions about his childhood. That

psychiatrist helped Walt understand that he needed to work through

issues from his childhood that had sparked his gender identity issues.

     Through psychotherapy Walt was diagnosed with dissociative

disorder, which had likely come about through the trauma of Walt’s

grandmother dressing him up as a girl when he was between four and six

years old. Further psychotherapy helped Walt work through his

dissociative disorder; as he healed from his disorder, his feelings of




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wanting to be a female went away. Walt returned to living as a male in

1991 and has found the happiness he had sought his whole life.

     Today Walt is 82. He has spent decades listening to and helping

others who, like him, found that gender transitions did not resolve their

root problems and decided to embrace their biological sex. His leadership

was recently recognized with his appointment as a senior fellow with the

Family Research Council. Walt intends to use this platform to continue

to share his story, which he hopes will “bring healing to those who have

experienced the same pains I have.” 3

     Based on his own experiences and those of others he has walked

alongside, Walt strongly believes that the Florida rule is the right

approach. Walt believes that government acts in the best interests of

those who identify as transgender when it takes steps to protect

vulnerable people, especially children, from irreversible medical and

surgical interventions that can cause life-long harm. Walt agrees with

Plaintiffs-Appellees that access to quality, scientifically proven medical



3 Press Release, Family Research Council, Family Research Council

Welcomes Walt Heyer as New Senior Fellow (Oct. 5, 2023),
https://www.frc.org/newsroom/family-research-council-welcomes-walt-
heyer-as-new-senior-fellow.

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care is critical. However, he believes that the hormonal and surgical

interventions covered by the Florida rule cause a great deal of harm and

do not effectively treat gender dysphoria.

     Looking back now, Walt believes that when he was diagnosed with

gender dysphoria his medical providers would have cared for him better

if they would have encouraged him to explore the possible psychological

roots of his desire to escape into a female persona, instead of encouraging

him to take hormones and submit to surgery. But no one told him that he

might find peace through counseling and psychotherapy until it was too

late, until he had lost years of his life and mutilated his body through

surgeries.

     Based on his experience, Walt believes children today need to be

protected by good laws like the Florida rule challenged here because

children, especially children with mental health problems and who have

suffered trauma, are easy to manipulate. They are soft targets in raging

political and cultural fight over what it means to be human.

     B.      Ted Halley

     Ted Halley experienced distress about his sex as a pre-teen. He

asked God to make him a girl and fantasized about dressing up in his



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mother’s clothes. He struggled with his gender identity for decades but

tried his best to be a man. Ted got married, he and his wife had five

children, and he was an active-duty member of the Air Force. Yet his

desire to be a woman never went away.

     At the age of fifty Ted started attending a heterosexual cross-

dressing group and through that experience decided to pursue a gender

transition. Ted started cross-sex hormones and underwent several

surgeries, including facial feminization surgeries, “genital reassignment

surgery,” and breast augmentation. He legally changed his name to

“Theresa,” changed the gender marker on his birth certificate, and

transitioned to a female identity at work.

     For years Ted was happy with his transition. But after twelve years

living as a female, Ted began to question what he had done. He became

severely depressed and suicidal. If he hadn’t been caring for his

granddaughter and if he hadn’t had his faith in God, Ted probably would

have killed himself.

     Ted saw that what he had been pretending to be—a woman—wasn’t

real. In March 2021 Ted decided to detransition. He reconnected with his

male identity and developed friendships with other men as a man.



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     Today Ted is in his mid-60s. He has no regrets about

detransitioning and wishes he had done it sooner. Ted believes that

detransitioning has literally saved his life. He regrets having wasted

years of his life pursuing a lie that did not make him happy. He regrets

the damage that doctors have inflicted on his body, including the

permanent loss of parts of his body and natural expressions of his true

self as a male. Ted also regrets the relationships he has damaged and the

pain he caused others because of his attempted gender transition.

     Ted sees himself as a living example that gender identity is not

innate or immutable, like one’s sex, race, or ethnicity. He had been

convinced that he was a “female” born in a male body; he had felt that

way since childhood. Based on that consistent and persistent conviction,

Ted fully transitioned in every possible way to live and appear as a

woman. Now Ted realizes that it was all a lie, a mental state of mind that

was subject to change, and that transitioning did not solve his internal

consternation and his deeper emotional problems.

     Based on Ted’s personal experience, he knows that children and

adolescents   with   gender   dysphoria     are    incapable     of   properly

understanding what it means to have your penis removed, to voluntarily



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acquire a permanent sexual dysfunction, and to modify your body so that

it does not reflect your biological sex.

      Ted believes that laws like the Florida rule are the best way for the

government to show that it cares about and is looking out for the best

interests of people suffering from gender dysphoria.

      C.    Billy Burleigh

      Billy first remembers being uncomfortable with his sex when he

was in first grade. He kept thinking to himself, “God made a mistake. I

am a girl.” Billy prayed that God would perform a miracle and that he

would wake up the next morning a girl.

      These feelings persisted throughout Billy’s childhood and into his

college years. After Billy finished undergraduate studies, he sought out

a gender therapist for help. He went to therapy hoping it would help him

be free of the thought that he was a woman. But his counselor told him

that the only way for him to be happy was to change his body to match

what his mind was telling him. After five or six years of gender therapy,

Billy’s depression deepened, and he started having suicidal ideation.

Billy’s therapist convinced him he needed to start cross-sex hormones.




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     Starting cross-sex hormones made Billy excited. He had started

down a road his therapist had convinced him was going to make him

happy!

     About three years after starting hormones, Billy embarked on the

surgical part of his transition. He underwent a penile inversion, an

Adam’s apple shave, and a brow shave. The surgery was tough, and

doctors had a hard time stopping the bleeding from the “new vagina” they

had created. Over the next three years Billy went back for a second

surgery on his artificial vagina, a second Adam’s apple shave, nose

feminization surgery, and a hair transplant.

     Seven years after Billy had started presenting as female, he found

he had more problems than before he had begun. He had jumped through

all the hoops that therapists and medical professionals had recommended

and had done everything he was told to do to change his presentation

from male to female. But despite all the surgeries he had undergone, he

knew he was not a woman: he knew that he was still a man. Every time

Billy looked in the mirror he still saw a man staring back at him.

     Billy found that changing his body had not resolved his internal

conflict and had not made him happy. Billy had endured many surgeries



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and tried many lifestyle changes, but they had not helped him. The

process had left him with a deformed, scarred body. Depression began to

set back in and suicide was again coming to seem like more of an option.

     Around the age of 40 Billy began to detransition. Today Billy is fifty-

six. His thoughts are clear, and he has the peace of mind he had sought

his whole life. His faith in Jesus and the discipleship he has received

through mentors at his church have helped him tremendously. Billy is

now happily married with two beautiful stepdaughters.

     Like Walt and Ted, Billy has found peace through embracing his

biological sex. But like his fellow Amici, Billy looks back at his life with

a lot of regret at what his gender transition has cost him. And his

experience shapes the way he looks at the Florida rule.

     With the benefit of age and experience, Billy recognizes that the

healthcare he received failed him in several critical areas. First, no

mental health professional counseled him that everyone has a continuing

need for acceptance, significance, and security. As a child he had thought

that, by being a girl, his psychological needs would be fulfilled. Billy

learned the hard way that was not true.




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     Second, the mental health professionals that Billy went to for help

when he was in his twenties simply assumed that the only way he could

be mentally healthy was to pursue the thought that he should have been,

and therefore was, a girl and woman. But that was also wrong. The many

medical and surgical procedures he endured left him worse off than when

he began.

     Third, Billy had a number of childhood issues that the mental

health professionals failed to uncover and adequately address. Had those

issues—including a speech impediment, a learning disability, and

childhood sexual abuse—been properly dealt with, Billy might not have

gone down the painful road he traveled.

     Billy has great compassion for children and teenagers who struggle

with gender dysphoria today. Just like all kids, they look to their parents

and health care professionals to help them. Even as an adult, Billy relied

on the mental health counseling he received in deciding to pursue gender

transition. But in his experience, the mental health profession is so quick

to “affirm” what is perceived to be a transgender identity that a gender

transition is presented as the only real solution for those struggling with




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gender dysphoria. The doctors and surgeons then simply provide the

requested hormones and surgeries.

      Based on his personal experience, Billy believes that the Florida

rule is necessary and essential because it will give gender dysphoric

young people (and even older adults struggling with their gender

identity) a chance to work through their feelings, which can be

overwhelming and deeply confusing, and address their underlying

issues effectively without being pulled into a series of treatment that

will permanently disform and disable their bodies without addressing

the underlying reasons for their confusion and emotional pain.

II.   Amici’s testimony puts the Plaintiffs-Appellees’ claims in
      context.

      As noted above, Walt, Ted, and Billy are sympathetic with what

Plaintiffs-Appellees describe in their declarations. They understand how

Plaintiffs-Appellees might have concluded that cross-sex hormones and

invasive surgery is the answer to the pain and confusion they have been

living with. Amici have walked down that road too.

      But Walt, Ted, and Billy have the benefit of experience and

perspective. They pursued gender transitions with zeal and have now

seen the other side. They remember that they too were once enthusiastic


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about their “gender transitions,” but also remember how that sense of

elation changed into depression, suicidal ideation, and regret. Finally,

while Plaintiffs-Appellees stress the permanent consequences of forgoing

gender transition therapies, Amici urge the Court to keep in mind that

cosmetic surgeries and penectomies are permanent too.

     Amici do not ask the Court to decide that they are “right” and the

Plaintiffs-Appellees are “wrong.” They do hope that their perspective

helps the Court understand why the Plaintiffs-Appellees’ arguments that

the Florida rule must be discriminatory and must be motivated by

animus are legally and factually incorrect. Walt, Ted, and Billy believe

the Florida rule represents good public policy motivated by a desire to

help those like them and Plaintiffs-Appellees avoid the regret and harm

of irreversible gender transition interventions.

     A.    Amici have the benefit of life experience and
           perspective.

     The most striking difference between Plaintiffs-Appellees and

Amici is their ages. Plaintiffs-Appellees are twelve years old (Doe and

K.F.), twenty years old (Rothstein), and twenty-eight years old (Dekker).

Dekker v. Weida, No. 4:22CV325-RH-MAF, 2023 WL 4102243, at *8–10

(N.D. Fla. June 21, 2023). By contrast, Walt is in his eighties, Ted is in


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his mid-sixties, and Billy is in his mid-fifties. Each of the Amici has spent

more time on cross-sex hormones than Plaintiffs-Appellees, has spent

more time presenting as the other sex than Plaintiffs-Appellees, and has

had more extensive “gender transition” surgeries than Plaintiffs-

Appellees.

     Amici do not doubt that Plaintiffs-Appellees sincerely believe that

they “are” transgender and that the only way for them to resolve their

gender dysphoria is for them to “eliminate the distress of gender

dysphoria by aligning a patient’s body and presentation with their gender

identity.” Id. at 7. Amici get it. They were there too. But Amici’s

perspective changed over time.

     Amici do not suggest that Plaintiffs-Appellees will all come around

and embrace their biological sex. 4 But regardless of what path Plaintiffs-

Appellees take in the future, Amici remember that they were once as

certain as Plaintiffs-Appellees are today that cross-sex hormones and

having doctors surgically remove their reproductive organs was their


4 Given that Plaintiffs-Appellees Doe and K.F. are only 12, there is a

strong statistical likelihood that their gender dysphoria will go away in
the next decade. See DE 49 at 3 (61-88% of prepubescent children who
experience gender dysphoria accept their biological sex by the time they
reach adulthood).

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best chance at happiness. But Amici came to recognize that that was not

true for them. If they could go back in time, they would tell themselves

to put off hormones and surgeries and find a good therapist to help them

understand and work through the trauma that contributed to their

gender dysphoria. Their hope and prayer is that children and young

people today will be given that chance before harmful and irreversible

gender transition interventions. They believe that the Florida rule is a

good policy that will give impressionable adolescents with gender

dysphoria more time and space to consider non-invasive and -irreversible

options.

     B.     Amici show that short-term satisfaction with gender
            transition is not conclusive.

     Amici’s experiences tell them that Plaintiffs-Appellees’ confidence

that their gender transitions are working may not be the whole story.

Plaintiffs-Appellees have started pursuing gender transitions, and

believe    things   are   going   well     for   them     Plaintiffs-Appellees

understandably want to keep heading down a path that they believe has

been good for them so far. Their current state of mind leads them to

conclude that their well-being will suffer if the Florida rule keeps the




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government from paying for the next intervention on their path to

transitioning.

     Plaintiff Dekker, a biological female, started presenting as a male

eight years ago (2015) at about the age of twenty and started cross-sex

hormones six years ago (2017) at about the age of twenty-two. Doctors

amputated Dekker’s breasts last year (April 2022). DE 11 at 15-16.

Plaintiff Dekker fears that if Florida stops paying for cross-sex hormones,

Dekker will suffer “psychological distress” and increased risk of

“discrimination and violence.” Id. at 16.

     Plaintiff Rothstein, a biological female, started taking cross-sex

hormones around three years ago at the age of seventeen. In January

2022 Rothstein met with a doctor who agreed to amputate Rothstein’s

breasts, but as of last September the surgery had not yet taken place. Id.

at 16-17. Plaintiff Rothstein fears that if Florida will not pay a doctor to

amputate Rothstein’s breasts Rothstein will suffer “intense gender

dysphoria” and “increased discrimination, harassment, and violence.” Id.

at 17.

     Plaintiff Doe, a biological male, started presenting as a female six

years ago (2017) at about the age of six. Doe started puberty-blocking



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medication (Lupron) less than three years ago (July 2020) and plans on

starting cross-sex hormones in the next year or two. Id. at 17-18. Plaintiff

Doe states that if Florida does not continue to pay for puberty-blocking

medication, Doe will be “devastated,” as “endogenous puberty would be

torture” and would also be “devastating” for Doe’s parents. Id. at 18.

     Plaintiff K.F., a biological female, started presenting as a male

before entering second grade (2015). In 2020, K.F. started taking

medication to prevent puberty. Id. at 18-19. K.F.’s motion testifies that if

Florida will not pay for ongoing puberty blockers and cross-sex hormones,

“K.F.’s mental health will suffer tremendously.” Id. at 19.

     Again, while Amici do not intend to dismiss Plaintiffs-Appellees’

experience, they recall that they too were once happy with their

transitions and hopeful for the future. Walt pursued his transition with

vigor and lived as “Laura” for eight years. Ted lived as “Theresa” for

twelve years. Billy presented as female for seven years. For each of the

Amici, it was not until they had done everything their doctors had

recommended to them that they realized they had chosen the wrong path.

They pursued their transitions as far as they could, but it was not

enough.



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     The Plaintiffs-Appellees may find that fully pursuing gender

transitions, as each of the Amici did, will make them as happy as they

hope it will. But even if that turns out to be the case, that would not be

enough to prove that the Plaintiffs-Appellees should win this case. Walt,

Ted, and Billy know from experience that at least a significant number

of people with gender dysphoria will one day regret their gender

transition interventions. These destransitioners, like Amici, will wish

that the government had tapped the brakes and pushed them to seek out

counseling instead of signing up for harmful and irreversible hormones

and surgeries. The divergence of perspectives and outcomes among

people diagnosed with gender dysphoria is itself grounds to find that the

Florida rule is a legitimate and non-discriminatory exercise of the State’s

responsibility to pass laws concerning public health and welfare.

     C.    Amici demonstrates that there are permanent
           consequences to forgoing and to undertaking gender
           transition interventions.

     Finally, Amici’s experience proves beyond all doubt that Plaintiffs-

Appellees’ concerns about the effects of not pursuing gender transitions

are not the only long-term consequences that people with gender

dysphoria or a state seeking their well-being need to keep in mind.



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     Plaintiffs-Appellees claim that the Florida rule, by not paying for

hormonal and surgical interventions to prevent or remove primary or

secondary sexual characteristics, will lead to “serious” consequences for

persons with gender dysphoria, “including irreversible and harmful

physical changes and irreparable mental harm,” leading to “higher levels

of stigmatization, discrimination, and victimization.” DE 11 at 9.

     Amici appreciate that Plaintiffs-Appellees’ fears are sincere. But

they know from experience that there are also daunting permanent

consequences of getting all the gender transition interventions one had

hoped for. Though Walt, Ted, and Billy have embraced their biological

sex and stopped cross-sex hormones, they cannot undo the effects of the

hormones and feminization surgeries they have undertaken, including

the removal of their reproductive organs.

     While it would be reasonable for Defendants-Appellants to consider

the burden their rule would place on people that want to prevent or

eliminate expressions of their biological sex, Florida must also consider

the emotional and physical consequences of a public policy that provides

subsidies for puberty blockers, cross-sex hormones, and surgeries to

remove healthy reproductive organs.



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                            CONCLUSION

     Amici Walt, Ted, and Billy offer their testimony to offer the Court

a different perspective on how people that are struggling or who have

struggled with their gender identity might view and welcome the

challenged Florida rule. The Plaintiffs-Appellees’ perspectives are their

own, but their view is not the way all people with a history of gender

dysphoria view the moderate state funding restrictions Florida has

adopted. Amici wish government had done more decades ago to protect

their interests and emotional and physical wellbeing; they are glad that

Florida has adopted these protections for others today.

     The Court should find for the Defendants-Appellants and reverse

the decision below.

                                Respectfully submitted,

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                 CERTIFICATE OF COMPLIANCE

     This brief complies with the word limit of Fed. R. App. P. 29(a)(5)

because this brief contains 4,908 words, excluding parts of the brief

exempted by Fed. R. App. P. 32(f).

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Dated: October 13, 2023

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